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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION




  BRIGHT DATA LTD.                     §
                                       §
                   Plaintiff,          §   CIVIL ACTION NO. 2:21-cv-00225-
                                       §   JRG-RSP
             v.                        §
                                       §
  NETNUT LTD.                          §   JURY TRIAL DEMANDED
                                       §
                   Defendant.          §
                                       §
                                       §




    DEFENDANT NETNUT LTD.’S SUPPLEMENTAL BRIEF PURSUANT TO DKT. 182
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           The parties’ settlement agreement is not subject to the protective order in the litigation. All

  of the objective and contemporaneous evidence demonstrates that the settlement agreement

                                                                                        . For example,

  NetNut’s parent company, Safe-T Group (“Safe-T”), is                                                not

  a party to the litigation or protective order, making it not only implausible but unworkable for the

  protective order to apply to the settlement agreement. Further proving the parties’ actual intent

  when entering the settlement agreement,

                                                                                         . Bright Data’s

  strained position to the contrary hinges



                                                                                            (Ex. E ¶ 12).

           The record also clearly shows, again through objective and contemporaneous evidence,

  that Safe-T’s challenged disclosures were required by securities law. When Safe-T made its

  challenged disclosures, it followed the customary and established industry practice: issuing a press

  release with material information and incorporating that press release into a Form 6-K filing with

  the Securities and Exchange Commission (“SEC”). Safe-T has followed this approach since its

  original listing on Nasdaq, including at least 40 times since just 2020, Ex. Z, showing that when it

  did so here it was acting consistently and in compliance with the law. Safe-T’s challenged

  disclosures here contained material information pertaining to the parties’ settlement as required

  by law—



                     —consistent with its obligations as a publicly traded company.1 The evidence—




  1
      While Safe-T’s May 19 Form 6-K contained both favorable and unfavorable disclosures, the federal
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  without litigation bias or hindsight—demonstrates that Safe-T’s approach is not unique but instead

  follows industry norms for making securities disclosures: publicly traded litigants in this District

  (Ex. AA) and others (Ex. BB, CC) follow the same approach of issuing press releases disclosing

  specific financial and legal terms of settlements that are incorporated into SEC filings.

         The propriety of Safe-T’s disclosures is confirmed by the expert testimony of Lawrence

  Iason, a former head of the SEC’s New York Regional Office where he supervised all enforcement

  and regulatory operations in the SEC’s largest region. Ex. X. The lack of merit in Bright Data’s

  attacks is further proven by the expert testimony of Gregory Lawrence, a former Senior Counsel

  in the Division of Enforcement at the SEC, who explains that if Safe-T did not make its required

  securities disclosures it would have been exposed to substantial civil liability. Ex. Y.

         These sound and well-founded expert opinions sharply contrast with the statements of

  Bright Data’s declarant, Robert Evans. Dkt. 178, Ex. O. Mr. Evans was willing to assert the

  contrary in a conclusory, three-page declaration that did not even analyze Safe-T’s financial

  condition, the risk that NetNut’s litigations posed for Safe-T, Safe-T’s well-documented history of

  using press releases attached to Form 6-K filings in disclosing material information, the

  widespread industry practice of public companies doing exactly the same, or the fact that Safe-T’s

  disclosures following the Bright Data II settlement mirrored those following the Bright Data I

  settlement. Id. It is even more troubling that Mr. Evans would incorrectly assert that Safe-T’s

  “May 19, 2022 Form 6-K appears to only present information about the settlement that is favorable

  to Safe-T Group.” Id. ¶ 3. He did not even review the settlement agreement before making that

  statement. See id. at 1-2 (statements “based solely on my review of” three securities filings).




  securities laws do not require a “balanced” disclosure. The law only requires disclosure of
  information that is material to a reasonable investor. See Ex. Y ¶ 31.
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  I.     ENFORCEABILITY OF THE PROTECTIVE ORDER POST-DISMISSAL

         In order to focus on the clearly dispositive issues, NetNut does not dispute for purposes of

  this brief that the protective order may be enforceable by the Court, post-dismissal, with respect to

  discovery materials that it covered while the case was active. See, e.g., Dkt. 58 ¶ 23 (destruction

  of documents within 30 days of dismissal); id. ¶¶ 1, 8, 18, 21, 22 (applying to “discovery”).

  II.    THE PROTECTIVE ORDER DOES NOT APPLY TO THE SETTLEMENT
         AGREEMENT

           A.     Parties to the Settlement Agreement                    Were Not Party to the
                  Litigation or the Protective Order, Which Reveals the Parties’ True Intent

         The parties to the settlement agreement include

                                                                Ex. E ¶ 1 n.1 & n.2.

                                Id. at n.2.

                                                        This is perhaps the most powerful indication

  of the parties’ actual intent when they entered the agreement. See Hoffman v. L & M Arts, 838

  F.3d 568, 581 (5th Cir. 2016) (“[T]he primary concern of a court construing a written contract is

  to ascertain the true intent of the parties as expressed in the instrument.”) (quotations and brackets

  omitted).



                                                                   See Cambridge Consulting Group,

  Inc. v. Bank of Am., N.A., No. 3:11-cv-306-O, 2012 WL 13018982, at *3 (N.D. Tex. Feb. 7, 2012),

  aff’d 511 Fed. Appx. 379 (5th Cir. 2013) (“the Court should not construe a contract provision in a

  manner that is unreasonable or absurd.”). The fact is that when the parties to the settlement

  agreement negotiated its contents, they never invoked the protective order,

                                                         , and never sought to resolve the many

  contradictions that would arise if the protective order did apply. These objective indications of the

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  parties’ intent, as further discussed below, confirm the truth of their expectations regarding

  confidentiality:

                                                        .

           B.        No Party                                        Under the Protective Order

          If the parties had intended to subject the settlement agreement to the protective order, they

  were required to “affix[] a legend or stamp” with the word “CONFIDENTIAL” “on each page of

  the” agreement “for which such protection is sought.” Dkt. 58 ¶ 2.                              This is

  another strong indication of

                                                                   . See Giant Eagle Inc. v. Excentus

  Corp., No. 3:14-CV-1195-B, 2014 WL 12531173, at *4 (N.D. Tex. Aug. 2, 2014) (“The parties’

  intent is governed by what they said in the contract, not by what one side or the other alleges they

  intended to say but did not.”) (quoting Gilbert Tex. Const., L.P. v. Underwriters at Lloyd’s London,

  327 S.W.3d 118, 127 (Tex. 2010)) (quotations and brackets omitted).

          Bright Data’s after-the-fact disagreement, based solely on

                                                , Dkt. 156 at 7, is specious.

                                                                                                        . 58

  ¶ 2. It is                               .



                                                                                           . Ex. EE at

  4 (NetNut’s edits).                                                                         .



                . Ex. N ¶¶ 23-24; Ex. O ¶¶ 26-27. It is disingenuous for Bright Data to now claim

  that the parties intended

                                                                                                    .
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         In contrast



                                                                      Ex. DD at 1, 3.




  Accordingly, while the parties never intended



                                                                            .

          C.      Nothing in the Protective Order Applies to Settlement Agreements

         The protective order was never intended to apply to settlement materials, such as the

  settlement agreement. It was meant to govern disclosure of “Protected Material obtained by any

  party pursuant to discovery in this litigation[.]” Dkt. 58 ¶ 1. “The Order applies to pretrial

  discovery.” Id. ¶ 18. It also applied to materials that might contain discovery evidence, such as

  hearing or deposition testimony, pleadings and other filings, affidavits, and stipulations. Id. ¶ 4.

  Nowhere in the protective order, however, is there a reference to settlement agreements.

         This is of course consistent with the Federal Rules, which allow protective orders to govern

  “discovery.” Fed. R. Civ. P. 26(c)(1); see also Wi-Lan, Inc. v. Acer, Inc., No. 2:07-cv-473, 2009

  WL 1766143, at *2 (E.D. Tex. June 23, 2009) (protective orders allow protections “in discovery”).

  Here there is no dispute that the parties’ settlement agreement is not discovery material. It is a

  contract negotiated between the litigants and their non-party corporate affiliates. Accordingly, not

  only does the settlement agreement not invoke the protective order as discussed above, but the

  protective order does not govern case resolution contracts like the settlement agreement.

          D.      Bright Data’s Unsupported Position Leads to Contradictions, Which it Ignores

         Bright Data’s theory is also demonstrably incorrect because it leads to serious

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  contradictions, all of which Bright Data fails to address.

         For example, as parties to the settlement agreement, NetNut, Safe-T, and Bright Data are

  entitled to keep a copy of the agreement in their records.             But if the agreement was

  “DESIGNATED MATERIAL” under the protective order, the parties would have to destroy all

  copies of it within 30 days of the termination of the litigation (akin to a deposition transcript

  containing both sides’ DESIGNATED MATERIAL). Dkt. 58 ¶ 23.

         Similarly, under the settlement agreement,

                                                        . See Ex. E        (




                                                   ). But if the protective order applied, access would

  be permitted only to “three (3) designated representatives of each of the Parties.” Dkt. 58 ¶ 6(d).

  Contrary to Bright Data’s theory, no party ever identified such “designated representatives” as the

  protective order would require. Id. Bright Data’s theory also conflicts with Paragraph 14 of the

  protective order. This Paragraph states that “[t]here shall be no disclosure of any DESIGNATED

  MATERIAL by any person authorized to have access thereto to any person who is not authorized

  for such access under this Order,”

                                                                                     . Ex. E ¶    .

         Further,



                                    , the protective order would allow for such disclosures. See Dkt.

  58 ¶ 6(h) & ¶ 6(i) (allowing use in “Related Proceedings(s)” before the USPTO and PTAB).

         The many conflicts between the settlement agreement’s confidentiality terms and the

  protective order further confirm the parties’ true intent in the settlement agreement. See Hoffman,
                                                    6
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  838 F.3d at 581 (focusing on “the true intent of the parties as expressed in the instrument”). No

  party sought to address such conflicts in the settlement agreement because no party had a genuine

  expectation that the protective order applied to the settlement agreement.

  III.   SAFE-T’S DISCLOSURES WERE REQUIRED BY SECURITIES LAW

           A.     The                                                Safe-T’s Securities Disclosures

         The

                                                                  Ex. E ¶ 12. Bright Data asserts that

  NetNut has not identified any requirement obligating Safe-T to make the challenged disclosures.

  Dkt. 156 at 7-8. In support, Bright Data asserts that “§ 10(b) and Rule 10b-5(b) do not create an

  affirmative duty to disclose any and all material information.” Id. at 8. This is a strawman. Safe-

  T’s duty to disclose certain information arises not from §10(b) or Rule 10b-5 promulgated

  thereunder, but from SEC regulations and Nasdaq listing rules. It is axiomatic that “a duty to

  disclose under §10(b) or Rule 10b-5 can derive from statutes or regulations that obligate a party to

  speak.” In re Vivendi, S.A. Sec. Litig., 838 F.3d 223, 239 n.8 (2d Cir. 2016) (citation omitted,

  brackets omitted); see also Stratte-McClure v. Morgan Stanley, 776 F.3d 94, 102 (2d Cir. 2015)

  (“This Court and our sister circuits have long recognized that a duty to disclose under Section

  10(b) can derive from statutes or regulations that obligate a party to speak.” (collecting cases)).

         As a publicly traded company in the U.S. with foreign private issuer status, Safe-T’s duty

  to speak arose from SEC Form 6-K, “Report of Foreign Private Issuers Pursuant to Rule 13a-16

  or 15d-16 Under the Securities Exchange Act of 1934.” General Instruction B requires foreign

  issuers to promptly disclose (among other issues) “material legal proceedings” affecting them and

  their subsidiaries. Ex. U. Additionally, Nasdaq requires listed companies to make prompt

  “disclosure of any material information that would reasonably be expected to affect the value of

  its securities or influence investors’ decisions.” Ex. V. Information is material if there is a

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  substantial likelihood that its omission “would have been viewed by the reasonable investor as

  having significantly altered the ‘total mix’ of information made available.” Basic Inc. v. Levinson,

  485 U.S. 224, 231-32 (1988); see also Lormand v. US Unwired, Inc., 565 F.3d 228, 248 (5th Cir.

  2009); Sec. & Exch. Comm’n v. Carter, No. 4:19-CV-100-SDJ, 2020 WL 6304889, at *5 (E.D.

  Tex. Oct. 28, 2020) (citation omitted); Sec. & Exch. Comm’n v. Evolution Cap. Advisors, LLC,

  866 F. Supp. 2d 661, 667 (S.D. Tex. 2011) (citation omitted). As explained in the Declaration of

  Lawrence Iason, “[b]ecause any assessment of materiality must be made in light of the full context

  of existing and relevant facts already known to investors, the onus is on companies to make

  appropriate disclosures to ensure the information in the marketplace is true and complete once it

  has provided some information on a topic, even if the company did not have an affirmative duty

  to disclose that information in the first place.” Ex. X ¶ 23.

         Here,



                 Ex. O ¶ 24; Ex. N ¶ 17. Similarly,

                                                                   . Ex. O ¶ 24; Ex. N ¶ 17. The

  detrimental impact of any payment obligations is underscored by the fact that Safe-T reported a

  net loss of $13,125,000 and $7,845,000 in its annual report for 2021 and 2020, respectively. Ex.

  H at 46. Any payment by NetNut resulting from this litigation would have significantly impacted

  Safe-T’s operating expenses and ability to continue operating in the U.S.




                                                    As further explained below, Safe-T is not only

  required to report on material issues, but it has a duty to disclose information necessary to make

  the disclosure accurate in all material respects and not misleading.
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          Bright Data also contends that Safe-T met its disclosure obligations through its March 29,

  2022 Form 20-F filing and met its duty to update through its May 31 Form 6-K filing. Dkt. 178 at

  2. This argument reveals a stark misunderstanding of securities laws. “[O]nce a company speaks

  on an issue or topic, there is a duty to tell the whole truth. Meyer v. Jinkosolar Hldgs. Co., 761

  F.3d 245, 250 (2d Cir. 2014) (citation omitted, emphasis added); see also In re Gen. Elec. Sec.

  Litig., 844 F. App’x 385, 387 (2d Cir. 2021) (“A statement can be misleading by virtue of its

  omissions viewed in context of the statement as a whole. ‘Even when there is no existing

  independent duty to disclose information, once a company speaks on an issue or topic, there is a

  duty to tell the whole truth.’” (citations omitted)); In re Enron Corp. Sec., Derivative & “ERISA”

  Litig., 490 F. Supp. 2d 784, 794 (S.D. Tex. 2007) (“An affirmative duty to disclose may arise in

  four circumstances [including]. . . when a person makes a partial disclosure and conveys a false

  impression.” (citation omitted)).

          Here, Safe-T’s March 29, 2022 Form 20-F (“2021 Form 20-F”) disclosed not only the fact

  of pending litigation, but also the risk that “the ongoing litigation may potentially result in costs

  or liability that we will absorb, as well as restrictions and/or cessation of NetNut’s operations and

  services in the United States. There can be no assurance that we will prevail in any legal

  proceedings instituted by Bright Data or others, or that such proceedings will not have a material

  adverse effect on our business, financial condition or results of operations.” Ex. H at 17. With its

  2021 Form 20-F disclosure, Safe-T expressed to investors the significant risks it faced, including

  costs it may have to absorb, cessation of operations in the United States, and a material adverse

  effect on its financial condition. Id. at 17, 78.

          Thus, upon the settlement of Bright Data II,



                                      . See, e.g., Weiner v. Quaker Oats Co., 129 F.3d 310, 318 (3d
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  Cir. 1997) (defendants “had a duty to update such statements when they became unreliable.”); In

  re Facebook, Inc., IPO Sec. & Derivative Litig., No. 12-2389, 2013 WL 11319408, at *23

  (S.D.N.Y. Dec. 12, 2013) (defendants had a duty to update their disclosures because defendants

  “knew or should have known that their statements became misleading” (citation omitted, brackets

  removed)); In re Quintel Ent. Inc. Sec. Litig., 72 F. Supp. 2d 283, 291-92 (S.D.N.Y. 1999) (“A

  duty to update prior statements ‘may exist when a statement, reasonable at the time it is made,

  becomes misleading because of a subsequent event.’” (citation omitted)).

         Without a disclosure




             . Safe-T’s May 19, 2022 Form 6-K disclosure informed investors

             . In other words, Safe-T disclosed the whole truth as required under the federal

  securities laws. See In re Gen. Elec. Sec. Litig., 844 F. App’x at 387; Meyer, 761 F.3d at 250; In

  re Enron Corp. Sec., Derivative & “ERISA” Litig., 490 F. Supp. 2d at 794.

         Courts routinely hold that settlement of a litigation, and the terms of that settlement,

  constitute material information requiring disclosure under the securities law. See, e.g., In re Bristol

  Myers Squibb Co. Sec. Litig., 586 F. Supp. 2d 148, 161 (S.D.N.Y. 2008) (“Plaintiffs have plausibly

  pleaded that Bristol–Myers’s statements were rendered misleading by the failure to include

  relevant information about the nature of the settlement negotiations and the terms of the settlement

  agreement.”); Shenk v. Mallinckrodt, No. 17-CV-00145, 2019 WL 3491485, at *13 (D.D.C. July

  30, 2019) (denying motion to dismiss, in part, and finding that plaintiffs plausibly alleged that
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  defendant failed to disclose that the terms of settlement “would likely have a material adverse

  impact on Mallinckrodt’s financial condition, results of operations, and cash flows.”); Sec. & Exch.

  Comm’n v. Yuen, No. 03-CV-4376, 2006 WL 1390828, at *30 (C.D. Cal. Mar. 16, 2006) (failure

  to disclose a particular settlement term “omitted material facts about the agreement, including its

  impact on” other financials reported by company).

         Bright Data also

                                                                                    . Dkt. 156 at 7.



                                                                                     Ex. E ¶ 12. This

  did not require that Safe-T compromise on disclosures mandated by law.




                                                                    . The reasonableness of Safe-T’s

  disclosure is further confirmed by the fact that it was substantively the same as its disclosure upon

  the settlement of Bright Data I, to which Bright Data never objected. Ex. C at 1; Ex. D at 1.

         Additionally, Bright Data complains that Safe-T’s disclosure “within days of the closing

  of the litigation” was intended to maximize the impact on Bright Data. Dkt. 156 at 12. However,

  Form 6-K and Nasdaq rules require disclosures be made “promptly.” Exs. U & V. While neither

  set of rules define promptly, Form 8-K (the 6-K equivalent for domestic companies) provides that

  registrants must file or furnish a report “within four business days after occurrence of the event”

  being reported. Ex. W at 2. Safe-T’s disclosures were thus prompt as required by law.

           B.     Safe-T Faced Significant Liabilities Without Its Requisite Disclosures

         If Safe-T failed to make its challenged disclosures of material information, it would have

  faced significant exposure under federal securities laws—both regulatory scrutiny from the SEC
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  and private actions from investors. As explained in greater detail in the Declaration of Gregory T.

  Lawrence, a former Senior Counsel in the Division of Enforcement of the SEC, the SEC has broad

  authority under Section 21 of the Exchange Act of 1934 (“Exchange Act”) to investigate and

  prosecute violations of the federal securities laws by an issuer, such as Safe-T. Ex. Y ¶ 18.

  Therefore, if the SEC suspected that Safe-T made factually inaccurate filings in its annual and

  periodic reports, in violation of Section 13(a) of the Exchange Act and Rules 13a-1 and 13a-16

  promulgated thereunder, Safe-T could face investigation and prosecution. Id. ¶ 19.

         Safe-T also faced potential legal exposure under Section 11(a) of the Securities Act of 1933

  (“Securities Act”) by private investors. Id. ¶¶ 20-22. The Securities Act imposes strict liability

  for misstatements or omissions in a company’s registration statement. See Herman & MacLean v.

  Huddelston, 459 U.S. 375, 382 (1983) (under Section 11, “[l]iability against the issuer of a security

  is virtually absolute, even for innocent misstatements.”); Ex. Y ¶ 20. Further, any individual who

  purchased securities pursuant to a faulty registration statement has standing to sue. Id. Here, Safe-

  T incorporated by reference portions of its May 19, 2022 and May 31, 2022 Form 6-Ks into its

  registration statement on Form S-8, a short-form registration used to issue securities as part of an

  employee benefit plan, and Form F-3, a short-form registration statement filed by foreign issuers

  who meet certain requirements. Id. ¶ 21. As of its May 19, 2022 and May 31, 2022 Form 6-Ks,

  Safe-T had ten active securities offerings. Id. ¶ 22. Given the materiality of the Bright Data II

  settlement (see Ex. X ¶¶ 28-46), Safe-T would be exposed to potential liability had it failed to

  make the challenged disclosures that were incorporated into its registration statement. Ex. Y ¶ 22.

         Safe-T would also be exposed to insider trading liability under Section 10(b) of the

  Exchange Act and Rule 10b-5 if it failed to make its challenged disclosures. Section 10(b) and

  Rule 10b-5 “prohibit undisclosed trading on inside corporate information by individuals who are

  under a duty of trust and confidence that prohibits them from secretly using such information for
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  their personal advantage.” Salman v. U.S., 137 S. Ct. 420, 423 (2016). Thus, if Safe-T’s officers

  and directors bought stock at a deflated value, based on knowledge that Safe-T no longer faced the

  risks previously identified in the 2021 Form 20-F, they would be subject to insider trading liability

  since the investing public would not have also been aware of this material, non-public information.

  Ex. Y ¶ 25. Safe-T’s disclosures thus protected the Company from significant legal liability.

           C.      Safe-T’s Press Release, Incorporated in its 6-K Filing, Conformed to a Standard
                   Frequently Used by Public Companies, and Consistent With its Own Practice

         Bright Data asserts that “under the securities laws, Safe-T has no obligation to issue a press

  release of any kind.” Dkt. 178 at 3. Bright Data is again wrong on the law. A securities disclosure

  must provide information to investors through a method reasonably designed to effect broad, non-

  exclusionary distribution. Ex. X ¶ 26; Ex. Y ¶ 29. Public companies frequently achieve this

  objective by issuing a press release that is incorporated into their securities disclosure. Ex. X ¶ 27;

  Ex. Y ¶ 29. Reflecting this fact, since just 2020 Safe-T has followed this approach and issued a

  press release in connection with its Form 6-K disclosure at least forty times. Ex. X ¶ 27; Ex. Y

  ¶ 29; Ex. Z (Safe-T 6-K Filings). Thus, Safe-T’s May 19 press release that was incorporated into

  its Form 6-K, announcing the settlement of Bright Data II, was not an attempt to “circumvent the

  confidentiality of the Settlement” as Bright Data contrives (Dkt. 178 at 3), but rather was consistent

  with Safe-T’s established practice designed to ensure broad, non-exclusionary distribution to

  investors, as expected under securities law.

         Safe-T’s practice is also consistent with that of litigants in this District. For example, upon

  settlement of its patent litigations, Network-1 (a publicly traded company) routinely issues a Form

  8-K incorporating a press release which discloses the financial terms of the settlement agreement.

  Ex. AA. Other litigants do exactly the same upon settling cases. See, e.g., Ex. BB (Finjan

  Security); Ex. CC (sampling of other such filings).


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  IV.    NO VIOLATION HAS OCCURRED, AND IF THE COURT FINDS DIFFERENTLY
         THE APPROPRIATE REMEDY WOULD BE AT MOST AN ADMONITION

         Because the protective order does not apply to the parties’ settlement agreement, and

                                                                                                 there

  is no violation of the protective order. No remedy is thus appropriate. Should the Court disagree,

  however, several facts confirm that at most an admonition would be the appropriate remedy.

         Rule 37(b)(2), which Bright Data relies on (Dkt. 156 at 10, 14), provides that “the court

  where the action is pending may issue further just orders,” as well as several enumerated remedies.

  Fed. R. Civ. P. 37(b)(2). Here, the evidence strongly shows Safe-T acted in good faith in an earnest

  practice to comply with securities law. Safe-T’s Form 6-K filing and incorporated press release—

  which contain all of the information Bright Data challenges—adhered to Safe-T’s own established

  and customary practice of disclosing material information (Ex. Z), as well as to a widespread

  industry norm following exactly that format (Ex. AA, BB, CC). Safe-T had no ill will toward

  Bright Data in making these securities disclosures, but rather a good faith interest in complying

  with securities law. Ex. N ¶¶ 19-20; Ex. O ¶ 25.



                                                                 Ex. DD at 3.

         Moreover,                                                          but has waived its ability

  to attempt such a showing. The Court’s Order on supplemental briefing required the parties to

  “serve on the opposite party a Notice that identifies evidence the party plans to offer in support of

  its supplemental brief as required by Fed. R. Civ. P. 26(a)(1)(A)(i)-(iv).” Dkt. 182 at 1. While

  Fed. R. Civ. P. 26(a)(1)(A)(iii) required Bright Data to disclose “a computation of each category




  2
   NetNut explained that the “harm” arguments Bright Data raised in its motion make no sense, lack
  evidentiary support, and are wholly speculative. Dkt. 168 at 15.
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  of damages” it claimed, all “documents or other evidentiary material” regarding damages, and all

  “materials bearing on the nature and extent of injuries suffered,” Bright Data failed to make any

  disclosure under this provision. Ex. GG. Nowhere does Bright Data’s notice even address alleged

  damages or harm. Id. Bright Data’s failure to identify any cognizable harm not only disregards

  the Court’s Order, but also warrants a finding of no sanctions. See Innovation Sciences, LLC v.

  HTC Corp., No. 4:18-CV-00476, 2020 WL 4536053, at *4-*5 (E.D. Tex. Aug. 6, 2020)

  (determining that sanction would not be in interest of fairness and justice in part because “Plaintiff

  has not shown how it has suffered substantial prejudice as a result of” alleged violation); see also

  Paice LLC v. Hyundai Motor Co., No. WDQ-12-499, 2015 WL 13594450, at *2 (D. Md. May 5,

  2015) (declining to find contempt for alleged protective order violation absent showing of “harm”);

  Lookout Windpower Hldg. Co., LLC v. Edison Mission Energy, No. 3:09-104, 2011 WL 13238016,

  at *3 (W.D. Pa. Feb. 22, 2011) (declining to issue sanction where, “even if we were to find that

  any of the three agreements cited above were produced in violation of the Protective Order, we

  would find that this production was in good faith, unintentional and reasonable under the

  circumstances.”); On Command Video Corp. v. LodgeNet Entm’t Corp., 976 F. Supp. 917, 923

  (N.D. Cal. 1997) (adopting Magistrate Judge’s recommendation of no fine or attorneys’ fees where

  claimant “failed to present a factual basis to substantiate the amounts requested”). Under these

  circumstances, where Safe-T demonstrably acted in good faith and to comply with securities law,

  and where Bright Data                              (including in response to the Court’s Order, Dkt.

  182), no monetary sanction would be appropriate. At most an admonition would be appropriate

  as a “further just order[]” under Rule 37(b)(2)(A).

         As NetNut disclosed (Ex. FF at 9), NetNut submits that it should be entitled to its

  reasonable attorneys’ fees for having to respond to Bright Data’s baseless motion (Dkt. 156),

  which Bright Data magnified through over-aggressive and wasteful filings (e.g., Dkt. 190, 191).
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                                 CERTIFICATE OF SERVICE

         Pursuant to Local Rule CV-5(c), the undersigned hereby certifies that all counsel of record

  who have consented to electronic service are being served with a copy of this document via email

  on July 14, 2022.

                                                        /s/ Eric H. Findlay
                                                        Eric H. Findlay




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